Case 1:25-cv-00904-RER-JRC                 Document 21         Filed 03/14/25         Page 1 of 2 PageID #: 81

  Green Kaminer Min & Rockmore LLP
  Manhattan                                                                                             Long Island
  420 Lexington Ave., Ste 2821                                                         600 Old Country Rd., Ste. 410
  New York, New York 10170                                                             Garden City, New York 11530
  T.212.681.6400                                                                                    T. 516.858.2115



                                                               March 14, 2025

  VIA ECF FILING

  Honorable Ramon E. Reyes, Jr.
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

            Re:       Reid v. Remekie
                      Case No. 1:25-cv-00904-RER-JRC

  Dear Judge Reyes:

          Our firm has been recently retained by Petitioner Audley Reid in this Hague Convention
  proceeding. We write to request a pre motion conference as Respondent Nina Remekie’s has
  filed her Answer six (6) days late in violation of the “Discovery and Trial Management Order”
  (“Scheduling Order”) dated March 3, 2025, directing that “Respondent’s Answer must be filed
  by 3/7/25.”

          On March 13, 2025, we contacted Respondent’s counsel regarding her failure to file an
  Answer and asked to meet and confer. They did not respond but belatedly filed her Answer
  shortly thereafter. ECF No. 17. The Answer she filed is extremely thin and contains equitable
  defenses, such as unclean hands, that are not available under the Hague Convention. See
  Karpenko v. Leendertz, 619 F.3d 259, 265–66 (3d Cir. 2010) (“We conclude that application of
  the unclean hands doctrine would undermine the Hague Convention's goal of protecting the well-
  being of the child, of restoring the status quo before the child's abduction, and of ensuring ‘that
  rights of custody and of access under the law of one Contracting State are effectively respected
  in the other Contracting States.’”) (citation omitted); see also In re Application of Stead v.
  Menduno, 77 F.Supp.3d 1029, 1037 (D. Colo. Dec. 29, 2014) (“The equitable doctrines invoked
  by respondent are not mentioned in the Convention and are therefore not properly brought as
  defenses to a petition for return of the child.”); Uzoh v. Uzoh, 2012 WL 1565345, at *6 (N.D.
  Ill. May 2, 2012) (“The Hague Convention does not recognize unclean hands as a defense.”).

         Petitioner intends to seek various relief related to Respondent’s late Answer, which is
  severely prejudicial to Petitioner. This includes moving to strike her Answer, seek appropriate
  sanctions, including legal fees, or to strike defenses are not legally cognizable under the Hague
  Convention.

        Moreover, pursuant to this Court’s Scheduling Order, the parties were directed to
  exchange all discovery requests by March 14, 2025 (Notice of Electronic Filing, dated March 3,


                                 Website: www.gkmrlaw.com • Email: info@gkmrlaw.com
Case 1:25-cv-00904-RER-JRC          Document 21         Filed 03/14/25      Page 2 of 2 PageID #: 82

                             Green Kaminer Min & Rockmore llp – page 2

  2025) and to provide expert disclosures by March 28, 2025. Given the incredibly tight timelines
  of this case, this delay and noncompliance with the Court’s Scheduling Order compounds the
  prejudice to Petitioner.

          Given the foregoing, Petitioner respectfully requests a pre motion conference to address
  the issues referenced herein.


                                                        Truly yours,

                                                        /s/Richard Min
                                                        Richard Min
                                                        Green Kaminer Min & Rockmore, LLP
                                                        420 Lexington Avenue, Suite 2821
                                                        New York, NY 10170

                                                        Attorneys for Petitioner
                                                        Audley Reid




                       Website: www.gkmrlaw.com • Email: info@gkmrlaw.com
